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Fill in this information to identify the re es

i United States Bankruptcy Court for the:

District or DELAWARE

: (State)
: Case number (if known): Chapter 11

Official Form 201

CI Check if this is an
amended filing

Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.
j

1. Debtor’s name , YOGAWORKS, INC., a Delaware C-Corporation

 

2, All other names debtor used

 

in the last 8 years

 

 

Include. any assumed names,

 

trade. names, and doing business
as names

 

3. Debtor’s federal Employer XX-XXXXXXX
Identification Number (EIN) rn

4. Debtor’s address Principal place of business

2215 Main Street

 

 

Mailing address, if different from principal place
of business

 

 

 

 

 

 

 

Number Street Number Street
P.O, Box

Santa Monica CA 90405

City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business

Los Angeles

County
Number Street
City State ZIP Code

s. Debtor’s website (URL) www.yogawo rks.com

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Debtor YOGAWORKS, INC.

Case number (f known),

 

Name

6. Type of debtor

7. Describe debtor's business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor") must
check the second sub-box.

Official Form 201

ts) Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
( Partnership (excluding. LLP)

O) other. Specify:

A. Check one:

(2 Health Care Business (as defined in 11 U.S.C. § 101(27A))
C} Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(I Railroad (as defined in 11 U.S.C. § 101(44))

(2 Stockbroker (as defined in 11 U.S.C. § 101(53A))

OQ Commodity Broker (as defined in 11 U.S.C. § 101(6))

(J Clearing Bank (as defined in 11 U.S.C. § 781(3))
[el None of the above

B. Check aif that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

CJ investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C,
§ 80a-3)
CJ investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

Cc. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http-/Awww.uscaurts.qov/four-digit-national-association-naics-codes .

 

Check one:

C) Chapter 7
CJ Chapter 9
(} Chapter 11. Check all that apply:

LJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

(J The debtor is a debtor as defined in 11 U.S.C. § 1182(1}, its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1146(4)(B).

(4 A plan is being filed with this petition.

QO Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

LI The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment fo Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

(} The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
42b-2.

C) Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 20-12599-KBO Doci1 Filed 10/14/20 Page 3 of 18

Debtor YOGAWORKS, INC.

3.

10.

Case number (if known)

 

Name ‘
Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list. :

Are any bankruptcy cases
pending or being filed by a

business partner or an
affiliate of the debtor?

List all cases. If more than 1,

attach a separate list.

11.

12.

Why is the case filed in this
district?

Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

 

 

 

 

 

 

 

No
QC] Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM? DD/YYYY
L] No
Yes. Debtor See Schedule 1 Attached Relationship
District When
MM / DD /YYYY
Case number, if known
Check ail that apply:

(2) Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Cla bankruptcy case conceming debtor's affiliate, general partner, or partnership is pending in this district.

[2 No

C) Yes.

Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check al! that apply.)

C1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

(CJ It needs to be physically secured or protected from the weather.

C) it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options). :

C) other

 

Where is the property?

 

Number Street

 

 

City State ZIP Cade

Is the property insured?
CI No

CJ Yes. Insurance agency

 

Contact name

 

Phone

pad Statistical and administrative information

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
: Case 20-12599-KBO

Debtor YOGAWORKS, INC.

 

Natie

Case number Gir xnoke:

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13. Debtor's estimation of Check one:

{3} Funds wil be available for distribution te unsecured creditors.

CJ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

available funds
(@} 1-49
14, Estimated number of 2 50-99
creditors D 400-199
LI 200-999

CI] $0-350,000

il $50,001-$100,000
(J 3100,001-$500,000
CY $500,001-$1 million

16, Estimated assets

ted $0-$50,000

(J $50,001-$100,000
C¥ $100,001-3500,000
(J $500,001-$1 milion

16. Estimated liabilities

 

{3 4,000-5,000
CJ 5,001-10,000
C} 10,001-25,000

) $1,000,001-310 million

CO $10,000,001-$50 million
( $50,000,001-$100 million
C) $100,000,001-$560 million

C) $1,009,001-$10 milion

lal $10,000,001-$50 million
C} $50,000,001-3100 million
(J $100,000,001-$500 million

Request for Relief, Declaration, and Signatures

C3 25,001-50,000

CJ 50,001-100,000
CJ More than 100,000

LI} $500,000,001-31 billion

CL] $4,000,000,001-$10 billion
(J $10,000,000,001-$50 billion
(] Mare than $50 billion

(2) $500,000,001-$1 billion

(2 $1,000,000,001-$10 billion
(2 $10,000,000,001-$50 billion
CJ More than $50 billion

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17, Declaration and signature of
authorized representative of
debtor :

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.
| have been authorized to file this petition an behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

I declare under penalty of perjury that the foregoing is true and correct.

aa

Sigglure of puthorizdd representative of dedtar_/

Tite Chief Executive Officer

  

 

Brian Cooper

Printed name

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 4

 
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YOGAWORKS, INC.

Name

Debtor Case number (if known},

 

18. Signature of attorney X /s/ Thomas J. Francella, Jr. Date 1014 2020
Signature of attorney for debtor MM /DD /YYYY

Thomas J. Franceilla, Jr.

Printed name
Cozen O'Connor

 

 

 

 

 

Firm name
1201 North Market Street, Suite 1001
Number Street
Wilmington DE 19801
City State ZIP Code
302-295-2000 TFrancella@cozen.com
Contact phone Email address
3835 DE
Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
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SCHEDULE 1
Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the entities listed below (collectively the "Debtors"), filed a
voluntary petition for relief under chapter 11 of the United States Code in the United
States Bankruptcy Court for the District of Delaware. The Debtors are moving for joint
administration of these cases for procedural purposes only under the case number
assigned to the chapter 11 case of YogaWorks, Inc.,a Delaware corporation.

1. YogaWorks, Inc., a Delaware C-Corporation
2. Yoga Works, Inc., a California C-Corporation
Case 20-12599-KBO Doci1 Filed 10/14/20 Page 7 of 18

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RESOLUTIONS
OF THE STEERING COMMITTEE
OF THE BOARD OF DIRECTORS
OF YOGAWORKS, INC.

October 14, 2020

WHEREAS, by resolutions dated October 5, 2020 the Board of Directors (the "Board")
for YogaWorks, Inc. ("YogaWorks," or, the "Company") authorized the formation of a committee
(the "Steering Committee") to, among other things, (a) prepare, authorize, and direct a process to
be commenced by the Company under Title 11 of the U.S. Code (the "Bankruptcy Code"), the
Canadian Bankruptcy and Insolvency Act, or any similar or alternative insolvency-related options
or regimes (a "Bankruptcy Proceeding"), and (b) authorize and direct the Company's retention of
professionals, (c) select and authorize the Company to negotiate, finalize, consummate, and
otherwise proceed with transactions to be consummated through a Bankruptcy Proceeding, and (d)
approve and authorize decisions impacting the employment or retention of the Company's
employees, agents, contractors, and representatives;

WHEREAS, after due consideration taking into account the information available to it at
this time, and after consultation with the Company's management and legal, financial, and other
advisors, and in the exercise of its reasonable business judgment, the Steering Committee has
determined that it is in the best interests of the Company, its stakeholders, and its creditors to
commence a Bankruptcy Proceeding or Proceedings on behalf of the Company and undertake the
other actions approved by these Resolutions; and

WHEREAS, after due consideration taking into account the information available to it at
this time and after consultation with the Company's management and legal, financial, and other
advisors, and in the exercise of its business judgment, the Steering Committee has determined that
jt is in the best interests of the Company to consent to and approve the commencement of a
Bankruptcy Proceeding by its wholly owned domestic subsidiary, Yoga Works, Inc. a California
corporation ("Yoga Works - California"), and, to the extent necessary, to consent to and approve
the filing of petitions for relief under chapter 11 of the Bankruptcy Code by the wholly owned
subsidiary of Yoga Works — California; and

WHEREAS, after due consideration taking into account the information available to it at
this time and after consultation with the Company's management and legal, financial, and other
advisors, and in the exercise of its business judgment, the Steering Committee has determined that
it would be desirable and in the Company's best interests for the Company to sell, in one or several
transactions, any or all of the assets of the Company, including, without limitation, the Company's
brand, and inventory, through and as part of the Bankruptcy Proceeding (collectively, the
"Potential Sale Transactions"). .

Chapter 11 Filing

NOW, THEREFORE, BE IT RESOLVED, that the Steering Committee has declared,
and it hereby does declare, that it is in the best interests of the Company and its stakeholders that
the Company seek relief under the Bankruptcy Code.
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FURTHER RESOLVED, that the Company shall be, and hereby is, authorized to file a
voluntary petition (the "Petition") for relief under chapter 11 of the Bankruptcy Code (the "Chapter
11 Case"), in the Bankruptcy Court for the District of Delaware (the "Bankruptcy Court") and
perform any and all such acts as are reasonable, advisable, expedient, convenient, proper or
necessary to effectuate the purpose and intent of the foregoing.

Debtor in Possession Financing Facility

NOW, THEREFORE, BE IT RESOLVED, that the Company, subject to approval of the
Bankruptcy Court, as debtor and debtor in possession under chapter 11 of the Bankruptcy Code,
shall be, and it hereby is, authorized to: (a) enter into a new debtor in possession financing facility
(the "DIP Facility") and any associated documents and consummate, and perform under, the
transactions contemplated therein (collectively, the "Financing Transactions") with Serene
Investment Management, LLC or any of its affiliates or related funds, on such terms substantially
consistent with those presented to the Steering Committee on or prior to the date hereof and as
may be further approved, modified or amended by the Steering Committee, as may be reasonably
necessary or desirable for the continuing conduct of the affairs of the Company; and (b) pay related
fees and grant security interests in and liens upon some, all or substantially all of the Company's
assets, in such case, as may be deemed necessary or desirable by the Steering Committee in
connection with the Financing Transactions;

Subsidiary Resolutions

NOW, THEREFORE, BE IT RESOLVED, that the Company hereby authorizes and
consents to, and approves of, each of Yoga Works - California (a) filing a petition for relief under
chapter 11 of the Bankruptcy Code in the Bankruptcy Court, (b) entering into, and filing, the
Financing Documents, and related documents, and consummating, and performing under, the
transactions contemplated therein, and (c) entering into, and consummating, the sale of any or all
of the assets of Yoga Works - California and as part of the Chapter 11 Case.

Retention of Professionals and Claims and Noticing Agent

NOW, THEREFORE, BE IT RESOLVED, that the engagement by the Company, on
behalf of itself and of Yoga Works - California of (a) Shulman Bastian Friedman & Bui LLP, as
restructuring counsel, (b) Cozen O'Connor, as Delaware restructuring counsel, (c) Force Ten
Partners, LLC, as financial advisors, and (d) BMC Group, Inc., as claims, noticing, and solicitation
agent, and administrative advisor, in each case, is hereby ratified, adopted and approved in all
respects. ©

FURTHER RESOLVED, that Shulman Bastian Friedman & Bui LLP, and any additional
co-counsel or special or local counsel selected by the Company, shall be, and hereby are,
authorized, empowered and directed to represent the Company, as debtor and debtor in possession,
in connection with any Chapter 11 case commenced by or against it under the Bankruptcy Code.

Additional Resolutions

NOW, THEREFORE, BE IT RESOLVED, that all acts lawfully done or actions lawfully
taken by any officer of the Company or any professionals engaged by the Company in connection
2 Case 20-12599-KBO Doci1 Filed 10/14/20 Page 9 of 18

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with the Chapter 11 Case or any proceedings related thereto, or any matter related thereto, be, and
hereby are, adopted, ratified, confirmed and approved in all respects as the acts and deeds of the
Company.

FURTHER RESOLVED, that any and all actions and transactions by the Steering
Committee or any officer for and on. behalf and in the name of the Company with respect to any
transactions contemplated by the foregoing resolutions before the adoption of the foregoing
resolutions be, and they hereby are, ratified, authorized, approved, adopted and consented to in all
respects for all purposes.

FURTHER RESOLVED, that the corporate secretary of the Company is authorized and
directed to certify and/or attest these resolutions, certificate of incumbency and such other
documents or instruments that the corporate secretary of the Company may deem necessary or
appropriate in connection with the foregoing matters; provided, however, that such certification
and/or attestation shall not be required for any document, instrument or agreement to be valid and
binding on the Company.

FURTHER RESOLVED, that officers of the Company shall upon action by the Steering
Committee be authorized, directed and empowered, by the Steering Committee to in the name and
on behalf of the Company, as debtor and debtor in possession, to negotiate, execute, deliver, and
perform, or cause to be negotiated, executed, delivered, and performed, on behalf of, and take such
actions and execute, acknowledge, deliver and verify such agreements, certificates, instruments,
guaranties, notices and any and all other documents as any proper officer of the Company may
deem necessary or appropriate to facilitate the transactions contemplated by the foregoing
resolution, as may be deemed necessary, desirable or appropriate.

In WITNESS WHEREOF, the undersigned, being all of the members of the Steering
Committee of the Board of Directors, have executed these Resolutions as of the date first written
above. These Resolutions of the Steering Committee of the Board of Directors of YogaWorks, Inc.
may be signed in two or more counterparts, which may be delivered by facsimile or by email or
other internet transmission of .pdf, .jpg, .tiff, or other image files or other signature mechanism,
each of which together shall be deemed an original, and all of which shall be deemed one
instrument notwithstanding that all members of the Steering Committee have not signed the same
counterpart.

STEERING COMMITTEE OF BOARD OF DIRECTORS:

DocuSigned by: DocuSigned by:

 

 

Lauer Miller Pur Akin
LANCE MILLER “PETER ELKIN
| Case 20-12599-KBO Doci1 Filed 10/14/20 Page 10 of 18

 
 

United States Bankruptcy Court for the:

Case number (If known):

_ Fill in this information to Identify the case: -

Debtor name YOGAWORKS,. INC., a Delaware C-Corp

 

District of Delaware___

 
 

(State)

(2 Check if this is an

amended filing

 

Official Form 204

 

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders

A list of creditors holding the 30 largest unsecured claims must be filed in
disputes. Do not include claims by any person or entity who Is an insider,
secured creditors, unless the unsecur

largest unsecured claims.

i

Name of creditor.and complete
mailing.address, Including zip.code

DANIELA CAESAR-RODEN, individually
and on behalf of others similarly situated
C/O GUNDZIK GUNDZIK HEEGER LLP
44011 VENTURA BLVD ,, SUITE 206E
“SHERMAN OAKS, CA 91423

INTERNAL REVENUE SERVICE

P.O. BOX 7346 :

PHILADELPHIA, PA 19101-7346

LATHAM & WATKINS LLP

PO BOX 7247-8181:
_-PHILADELPHIA, PA 19170-8181

RUNWAY OWNER, LLC

‘C/O LPC WEST, LLC

‘42775 MILLENNIUM DR , #165
PLAYA VISTA, CA 90094

PES PARTNERS, LLC
(ClO FEDERAL REALTY INVESTMENT
TRUST
ATTENTION: LEGAL DEPARTMENT
909 ROSE AVENUE, SUITE 200
NORTH BETHESDA, MD 20852

MARIN GOUNTY MART, LLC.
c/O JS ROSENFIELD & CO.
921 MONTANA AVENUE
SANTA MONICA, CA 90403

JACKSON LEWIS PC ©
PO BOX 416019
BOSTON, MA 02241-8019

Official Form 204

“Name; telephone number, and: Nature of the:claim:. Indicate if

‘email address of creditor

- contact.

AARON C GUNDZIK
(818) 290-7461
REBECCA G GUNDZIK

STEVEN STOKDYK

(213) 891-7421
steven.stokdyk@lw.com_

RYAN HURSH,

310.862.9461
CYu@Ipc.corm

NADIA GHNEIM
Ngheim@djmcapital.com

LORA VRASTIL

(310) 647-3431
Ivrastii@comstock-omes.com

JEFF KRESHEK
Jkreshek@federalrealty.com

JAMES ROSENFIELD
310.458.6682
Jrosenfield@jsrosenfield.com

JOSH ROSENFIELD
(310) 458-6682
josh@jrosenfield.com

MIA FARBER
Mia.Farbér@jacksonlewis.com

Amount of-unsecured claim

12/15

a Chapter 11 or Chapter 9 case. Include claims which the debtor
as defined in 11 U.S.C. § 101(31). Also, do not include claims by
ed claim resuiting from inadequate collateral value places the creditor among the holders of the 30

‘(forexample, trade ° “claim.ts ifthe claims fully unsecured, fill in only. unsecured
debts, bank loans; contingent, claim amount: If claim is partially secured, fillin
professional unliquidated, total claim amount and deduction for value of
services, and or disputed collateral or Setoff to calculate unsecured claim.
government
contracts)

Total claim, if Deduction Unsecured

. partially for value of claim
secured collateral or
setoff
Judgment $ 4,000,000.00
Taxes $ 539,534.59
Legal $ 289,504.69
Lease $ 239,196.00
Lease 3 201,930.00
Lease $ 188,292.00
Legal $ 187,027.89
page 1

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
Debtor:

2 Case 20-12599-KBO Doci1 Filed 10/14/20 Page 11 of 18

Name

‘Name of creditor.and complete :
mailing address, including zip code

YOGAWORKS, INC., a Delaware C-Carp

Name, telephone number, and...Nature of the.claim.Indicate if
email address of creditor ..

= contact

Case number (itknown}

 

‘claim.is
contingent,
unliquidated,:

‘or disputed

“(forexample; trade:
-debts, bank loans, ~
-professional
services, and
government
contracts)

210 MUNI LLC

CASEY MARTINEZ
UNITED AMERICAN LAND LLC
430 WEST BROADWAY |
NEW YORK, NY 10012

AMERICAN COMMERCIAL EQUITIES,
9 Itc

23805 STUART RANCH R

‘SUITE 220

MALIBU, CA 90265

AEI NAPERPLACE, LLC, & BENA&
10 | AURIE R TRAINER

TTEES OF BEN ADAM TRAINER &

LAURIE RUTH TRAINER:

REV TST DATED MAY 8,2007, AS

TENANTS IN COMMON

11100 SANTA MONICA BLVD, SUITE 260:

LOS ANGELES, CA 90025

“FREDERICK H LEEDS INTERVIVOS TST

11 ‘3 OVED FAMILY TST
1900-S SEPULVEDA BLVD
STE 212
LOS ANGELES, CA 90025

42 WEST VALLEY OWNER LLC
ATT: LEGAL DEPT.
2049 CENTURY PARK EAST, 41ST FLR
LOS ANGELES, CA 90087

13
AKF3 VALENCIA, LLC
21500 BISCAYNE BLVD, /STE 700
AVENTURA, FL 33180

14 VILLAGE WALK TARZANA A2, LLC
C/O PACIFIC EQUITY PROPERTIES,
INC.

1317 5TH ST., STE 200
SANTA MONICA, CA 90401

AMERICAN EXPRESS ~
15 po Box 36001
FT LAUDERDALE, FL 33336

230 NEWPORT CENTER DRIVE LLC
16 “1400 NEWPORT CENTER DRIVE #200
‘NEWPORT BEACH, CA 92660

Official Form 204

ALBERT LABOZ

212-431-7500
Atbert@ualny.com;albert@unitedalan
d.com

CASEY MARTINEZ
(212) 431-7500
‘casey@unitedaland.com

Lease

‘STEPHANIE PHONGSA HO
(340) 774-5428

ssphongsaho@acemalibu.com Lease

CURT CHRISTENSEN
(720) 232-6088
Cchristensen@abingtonemerson.com

Lease
JORDAN WHEELER

(310) 405-7606
jwheeler@fredleedsproperties.com Lease
LORI BERNHARD, ALASTAIR
BOUCAUT

(310) 689-2639
Lori.bernhardt@urw.com,
alastair.boucat@urw.com

MOLLY UNGER, REPRESENTATIVE
818.227.5500

Lease

BRUCE KASSMAN

(305) 392-4117;
bkassman@adier-partners.com Lease
KEVIN MCDONALD

(949) 491-1178;

wrestled 5@aol.com

MAURICIO LETONA
(951) 783-1810
Mietcna@pinetree.com Lease
NORMA YANEZ
norma.g.yanez@aexp.com

JENNIFER RIVERA
(949) 760-9150;
Jrivera@burnhamusa.com

ERNIE PARK
(562) 698-9774

Ernie.Park@Bewleylaw.com Lease

Credit Card

“Amount of unsecured claim

lf the claim is fully unsecured, fill:in-only unsecured

>claim amount. If.claim’‘is: partially: secured; fillin

total claim: amount -and deduction for value. of
collateral-or setoffto.caleulate unsecured claim.

“Total claim, if | Deduction | Unsecured
partially for value of claim
secured collaterai or
setoff
$ 480,000.00
$ 178,128.00
$ 171,108.00
$ 160,956.00
$ 157,374.00
$ 151,830.00
$ 150,588.00
$ 149,779.50
$ 145,080.00
page 2

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
i

Case 20-12599-KBO Doc1 Filed 10/14/20 Page 12 of 18

 

 

Debtor. _ YOGAWORKS, INC., a Delaware C-Corp Case number if kaown)
Name
Name of creditor and complete Name, telephone number, and ‘Nature of the claim: Indicate if
mailing address, including zip:code ©. email.address-of creditor (for-example; trade:. claim:is
: : i contact : debts, bank loans;- » ‘contingent,
professional ‘unliquidated,
services, and _—s.-«- or disputed
government

(7

48 3460 W7TH STREET (CA) LLC

419

20

21

22

23

24

25

4
+

contracts)

CIM/ 11620 WILSHIRE (LOS ANGELES ),

LP

‘CIO CIM COMMERCIAL TRUST

CORPORATION
ATT: LEGAL DEPT

17950 PRESTON ROAD, SUITE 600 EVA CHANG

DALLAS, TX 75252

MWEST HOLDINGS

(310) 479-0211
‘echang@cimgroup.com Lease

NVLADY SHEYNIN
(818) 659-7036
vsheynin@mwestholdings.com

13949 VENTURA BLVD, STE 350

SHERMAN OAKS, CA.91423 ANN PAEK — CIM
: : ‘apaek@cimgroup.com
Lease
“THE ULTIMATE SOFTWARE GROUP, . ,
INC. BRETT MARKS
PO BOX 930953 (954) 712-6092
‘ATLANTA, GA 31193-0953 brett. marks@akerman.com Vendor
MIDTOWN CENTRAL SQUARE,LLC. JULIET GARCIA
2100 TRAVIS STREET, #250 (713) 655-0036
HOUSTON, TX 77002 | juliet@cpc-tx.com Lease
BARJEN REALTY TRUST, U/D/T OF ARNOLD ZENKER, TRUSTEE
SEPTEMBER 1, 1981 (781) 8914-0313
301 WELLESLEY ST. azenker@aal.com
WESTON, MA 02493 Lease
“TR COSTA MESA COURTYARDS LLC ~~ ARIAN MAHER |
VESTAR PROPERTY MANAGEMENT (714) 259-9015
2437 PARK AVENUE;
ATTN: PROPERTY MANAGER - COSTA VERONICA SALGADO-RICO
MESA COURTYARDS (714) 259-9015 Lease
TUSTIN, CA 92782 vsalgado-rico@vestar.com
UPLANDER WAY, LLC JEFF HAAS
5774 UPLANDER WAY (310) 641-4700 Lease
CULVER CITY, CA 90230-6606 Jeff@haasentertainment.com
TALTAR-WESTWOOD ATT: RAMIN YOQUABIAN
2770 LEONIS BLVD STE 119 (323) 425-9938
VERNON, CA 90058 ramin@easymgm.com Lease
DAVID T GIANNINI
: (415) 331-5600
THE NINE FORTY FIVE MARKET CORP ‘digiannini@gianninilaw.com
PO BOX 2787
SAUSALITO, CA 94966 - ‘MATT GIANNINI
: (415) 331-5600 Lease
matt@945mki.com

Official Form 204

Amount of unsecured claim

Ifthe claim is fully unsecured, fill.in only unsecured

claim amount. If.claim is partially secured, fillin
total clainy ammount and-deduction for value of
collateral or-setoff.to calculate unsecured claim.

. Total claim, if Deduction Unsecured
partially for value of claim
secured collateral or
setoff

$ 142,236.00
$ 139,734.00
$ 136,648.03
$ 116,340.00
$ 116,016.00
$ 115,332.00
$ 111,120.00
$ 110,538,00
$ 106,920.00

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims page 3
Debtor:

i

Name

Nameof creditor and complete
mailing address, including zip code

26

474 BROADWAY REALTY CORP

451 BROADWAY
NEW YORK, NY 10013

27°

28

29

YOGAWORKS, INC., a Delaware C-Carp

o Name, telephone number, ‘and
- .efnail address. of-creditor

contact’

NORMAN KRAMER
(212) 226-4530

nkramer16@gmail.com:

MOSHE KRAMER
(212) 226-4530

kramermanagement1 @gmail.com

TANYA KESHISHIAN
(818) 524-2255
{keshishian@shelterbay.com

ALISO CREEK SHOPPING CENTER INC. :

SHELTER BAY RETAIL GROUP
655 REDWOOD HIGHWAY, SUITE 177

MILL VALLEY, CA 94941.

TOMPKINS FAMILY LIMITED
PARTNERSHIP

C/O TOMPKINS TRUST

PO BOX 885

KENTFIELD, CA 94904-0884

440-444 KIPLING ALHOUSE DEATON
ELIZABETH BROPHY KULEMIN TRUST
‘BROPHY KULEMIN TRUST ONE,

GERTRUDE HALEY TRUST
2600 EL CAMINO, SUITE 200
PALO ALTO, CA 94306 .

‘KATINAS PROPERTIES.
1609 17TH STREET, NW.
WASHINGTON, DC 20009

Official Form 204

MAYRA RAMIREZ
(818) 542-2255

‘mramirez@mobilitie.com

“LES NATALI

(415) 774-6052
natali7@comeast.net

JEFF DEATON
(650) 857-0117
jdeaton@alhousedeaton.com

PAUL KATINAS
(202) 487-5882
pkatinas@aol.com

DIANE BURNES
(202) 487-5882
dkburnes49@gmail.com

Case number {it known)

“Nature ofthe claim: Indicate if

(for'example, trade claims

debts,.bank loans, contingent,
unliquidated,
or disputed

professional
services). and

igovernment
“contracts)

Lease

Lease

Lease

Lease

Lease

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims

Case 20-12599-KBO Doc1 Filed 10/14/20 Page 13 of 18

 

Amount of-unsecured claim

If the claim:is fully unsecured, fill in only. unsecured

claim-amount. If claim is partially secured, fill in
total-claim amount and deduction for value of
collateral or setoff-to calculate unsecured claim.

Total claim, if Deduction Unsecured

partially for value of claim

secured collateral or

: , setoff
$ 103,956.00
$ 102,504.00
$ 97,392.00
$ 94,662.00
$ 93,465.00
page 4
| Case 20-12599-KBO Doci1 Filed 10/14/20 Page 14 of 18

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: | Chapter 11
YOGAWORKS, INC., a Delaware C-Corporation, | Case No.

Debtor.

 

CORPORATE OWNERSHIP STATEMENT
[FRBP 1007(a)(1) and 7007.1]

 

Pursuant to Rules 1007(a)(l) and 7007.1 of the Federal Rules of Bankruptcy Procedure. the
following are corporations. other than a governmental unit. that directly or indirectly own LO%
or more of any class of the Debtor's equity interest, or states that there are no entities to report

under FRBP 7007.1:

 

Name and Address Approximate Percentage of
Ownership Held

 

Great Hills Partners 70%

 

 

 

 

 

 
 

| Case 20-12599-KBO Doc1 Filed 10/14/20 Page 15 of 18

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
YOGAWORKS, INC., a Delaware C-corporation, Case No.

Debtor.

 

LIST OF EQUITY SECURITY HOLDERS

 

 

 

Member Name and Address Approximate Percentage of Ownership

 

SEE ATTACHED

 

 

 

 
Case 20-12599-KBO Doc1_ Filed 10/14/20

LIST OF SHAREHOLDERS

PHILADELPHIA STOCK TRANSFER
Effeetive: 9/15/20

Page 16 of 18

 

Issue: YOGAWORKS INC

Ticker: YOGA

Cusip: 986005106

TESS

 

 

 

 

 

 

 

 

 

 

 

Account/TIN Name & Address Shares Held
D0000000019 [___CEDEECO 5,023,852
XX-XXXXXXX - POBOX 20 29,286 %
BOWLING GREEN STATION
NEW YORK NY 10004
1120-4 VANCE CHANG 7,597
XXX-XX-XXXX 3200 PATRICIA AVE 0.044 %
, LOS ANGELES CA 90064
COO0000NITS 7 CONTROL ACCOUNT CaP
| RESTRICTED NOMINEE FOR BOOK 0.004 %
BALANCE ACOUNT FOR YOGAWORKS INC
2320 HAVERFORD RD
SUITE 230
ARDMORE PA 19003
1 [_ JAYDECOONS 1,499
XXX-XX-XXXX _ 24367 NE 26TH CT 0.009 %
SAMMAMISH WA 98074-3339
C0000000035 [GREAT HILL EQUITY PARTNERS V LP 11,714,721
XX-XXXXXXX C/O MICHAEL A KUMIN 68.290 %
ONE LIBERTY SQUARE
BOSTON MA 02109
0000000027 GREAT HILL INVESTORS LLC 38,699
XX-XXXXXXX C/O MICHAEL A KUMIN 0.226%
ONE LIBERTY SQUARE
BOSTON MA 02109
Ca0GONoHSO ROSANNA MCCOLLOUGH 65,305
XXX-XX-XXXX 10763 LINDBROOK DR 0.381 %
LOS ANGELES CA 90024
1120-5 "SKY MELTZER 44,397
XXX-XX-XXXX 12625 WESTMINSTER AVE 0.259 %
LOS ANGELES CA 90066
N0000000221 NOMINEE ACCOUNT\C 3
<CR3 CLASS> 0.000 %
PHILADELPHIA STOCK TRANSFER
2320 HAVERFORD RD
SUITE 230
ARDMORE PA 19003
Generated by Linkstar 1

On 9/16/20 at 10:44AM EST
! Case 20-12599-KBO Doc1_ Filed 10/14/20

LIST OF SHAREHOLDERS

PHILADELPHIA STOCK TRANSFER
Effective: 9/15/20

Page 17 of 18

 

Issue: YOGAWORKS INC Ticker: YOGA

 

 

 

 

 

 

Cusip: 986005106 i
Account/TIN Name & Address Shares Held i
€0000000124 PHILADELPHIA STOCK TRANSFER AS AGENT FOR 1,352
: SOP PLAN RECONCILIATION BALANCE 0,008 %
2320 HAVERFORD RD
SUITE 230
ARDMORE PA 19003
2 PHIL SWAIN 718
XXX-XX-XXXX : 23901 BERDON ST 0.004 %
WOODLAND HLS CA 91367
TOOO00000T9 7 TREASURY ME 354,987
C/O PHILADELPHIA STOCK TRANSFER 1.486 Yo
2320 HAVERFORD RD
SUITE 230
ARDMORE PA 19003
3 __ FRANNIE WONG 659
XXX-XX-XXXX 3255 MILITARY AVE 0.004%
: LOS ANGELES CA 90034
13 Holders Qualified Outstanding Shares: 17,154,471

eT
— EE

 

Generated by Linkstar
On 9/16/20 at 10:44AM EST
 

Case 20-12599-KBO Doc1 Filed 10/14/20 Page 18 of 18

Debtor Name YOGAWORKS, INC., a Delaware C-Corporation

United Siates Bankruptcy Court for the: pistrict of DE
: (State)

Case number (xf knogn |

 

 

Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtorans

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

 

WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can resuit in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1344,
1819, and 3671.

Declaration and signature

 

 

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership: or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/H: Assets-Real and Personal (Offigiakform 206A/B)
Schedule D: Creditors Who Have Claims Secured Offciaidorm 206D)
schedule E/F: Creditors Who Have Unsecure(Offitial Rerm 206E/F)
Schadule G: Executary Contracts and Unexpi {@fficialdowm 2066)
Schedule H: Codebt{(@ficial Form 206H)

Summary oF Assets and Liabilicies for noOfficdlrarin 206Sum)

Amended Schedule

Chapter 21 or Chapter % Cases; List of Creditors Who Have the 20 Largest Unsecured Cl Officiabharaw204)ot inside

&@ 8 COOoDOc.aA

Other document that requires a declaration. Corporate Ownership Statement; List of Equity Holders

| declare under penalty of perjury that the foregoing is true'a

Po

  

Executed on w@ {/¢ [2020

: . eee
MM /DDIYYYY Sion gure oF dividual signing on behalf of acter /

Brian Cooper
Printed name

Chief Executive Officer
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-iIndividual Debtors

 
